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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 GIORGI RTSKHILADZE,


           Plaintiffs,

           v.

 ROBERT S. MUELLER, III
 In his individual capacity                          Case No. 1:20-cv-1591-CRC

           and

 UNITED STATES DEPARTMENT OF
 JUSTICE

                            Defendants.

                NOTICE OF PROCEEDINGS BEFORE CHIEF JUDGE HOWELL

       On January 20, 2022, this Court granted Defendant the United States Department of

Justice’s motion and sealed Plaintiff’s Rule 60 motion and associated exhibits, docketed as ECF

Numbers 37, 37-1, 37-2, 37-3, and 37-4, and stayed the time for Defendants to respond to

Plaintiff’s motion. Minute Order (Jan. 20, 2022).

       Defendant hereby updates the Court regarding subsequent developments. After this

Court sealed Plaintiff’s Rule 60 motion, Mr. Rtskhiladze moved for clarification from Chief

Judge Howell of her orders,1 and the Government responded to that motion.2

       On January 21, 2022, Chief Judge Howell clarified that “nothing in the Court’s previous

orders explicitly or implicitly granted permission to petitioner to disclose publicly material




       1
        Pet.’s Mot. Clarif. Prop. Sealing Pet.’s Decl. Rel. Grand J. Test., In re Grand Jury
Proceedings, 20-gj-48, ECF No. 13 (D.D.C. Jan. 21, 2022).
       2
         Resp. Pet’s Mot. Clarif., In re Grand Jury Proceedings, 20-gj-48, ECF No. 14 (D.D.C.
Jan. 21, 2022).

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obtained from petitioner’s review of his grand jury transcript.” Minute Order, In re Grand Jury

Proceedings, 20-gj-48 (D.D.C. Jan. 21, 2022). Chief Judge Howell’s order further stated that

“[s]hould petitioner wish to disclose publicly these materials, he would need to submit a motion

to that effect in this docket.” Minute Order, In re Grand Jury Proceedings, 20-gj-48 (D.D.C.

Jan. 21, 2022).

       On January 22, 2022, Mr. Rtskhiladze petitioned Chief Judge Howell to “unseal all Rule

60(b) materials” and for a copy of the transcript of his grand jury testimony.3 That motion

remains pending.


Dated: January 24, 2022                      Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General
                                             Civil Division

                                             ELIZABETH J. SHAPIRO
                                             Deputy Branch Director
                                             Federal Programs Branch

                                             BRIGHAM J. BOWEN
                                             Assistant Branch Director
                                             Federal Programs Branch

                                             /s/ Rebecca M. Kopplin
                                             REBECCA M. KOPPLIN
                                             Trial Attorney (California Bar No. 313970)
                                             U.S. Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L Street, NW
                                             Washington, DC 20005
                                             Tel: (202) 514-3953
                                             Fax: (202) 616-8470
                                             rebecca.m.kopplin@usdoj.gov

                                             Counsel for the United States


       3
        Pet.’s Mot. Unseal All Rule 60(b) Materials & Prod. His Grand J. Trans, In re Grand
Jury Proceedings, 20-gj-48, ECF No. 17 (D.D.C. Jan. 22, 2022).
                                                2
